Case 19-42211 Doci1 Filed 08/14/19 Entered 08/14/19 14:33:24 Desc Main Poe BO} BP # eg o

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

Eastern District of Texas
ta}
Case number cave number wo 4 2 41 cn 1 iZ Chapter you are filing under:

Wd Chapter 7

QO Chapter 11 0 : fob

QO) Chapter 12 _ eee

) Chapter 13 She perme LY Check if this is an
amended filing

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12115

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debfor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debior 1 and the other as Debtor 2. The
Same person must be Debtor 7 in all of the forms.

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

a Identify Yourself

4. Your full name

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Write the name that is on your .
government-issued picture Jennifer

 

 

 

 

 

 

 

 

 

 

identification (for example, First name First name
your driver's license or Marie
passport). Middle name Middle name
Bring your picture Tollett
identification to your meeting = Last name Last name
with the trustee.
Suffix (Sr., dr., IID Suffec (Sr., dr, i, lily
2. All other names you Jennifer
have used in the last 8 Firstname First name
years
Include your married or Middle name Middle name
maiden names. Goss
Last name Last name
First name First name
Middle name Middle name
Last name Last name

 

3. Only the last 4 digits of Ox - KK - 8 9 0 9

your Social Security WOO OO
number or federal OR OR

Individual Taxpayer

identification number i Sx - xe -
(ITIN}

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
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Debtor1 Jennifer Marie Tollett Case number rénown)
First Name Middle Name Last Name
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4, Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

iJ | have not used any business names or EINs.

i} | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN

EIN

Business name

—IN

EN

 

5. Where you live

1227 Devonshire Drive

 

 

[f Debtor 2 lives at a different address:

 

 

 

 

Number Street _ Number Street

Providence Village, Tx 76227

City State ZIP Code Cily State ZIP Code
Denton

County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different fram
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

Number Street Number Streel

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

kl Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

CJ | have another reason, Explain.
(See 26 U.S.C. § 1408.)

 

 

 

 

L) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(Ld | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

Official Form 1014

Voluntary Petition for Individuals Filing for Bankruptcy page 2
Case 19-42211 Doc1 Filed 08/14/19 Entered 08/14/19 14:33:24 Desc MainDocument Page 3 of 55

Debtor 1 Jennifer Marie Tollett Case number (i krown)

Firsl Name Middle Name

 

Lasl Name

a Tell the Court About Your Bankruptcy Case

7. The chapter of the
- Bankruptcy Code you
are choosing to file
under

8. How you will pay the fee

'9, Have you filed for
bankruptcy within the
last 8 years?

Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Chapter 7
L) Chapter 11 :
L) Chapter 12
LL) Chapter 13

(4 | will pay the entire fee when I file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your atiorney may pay with a credit card or check
with a pre-printed address.

C1 I need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in tnstaliments (Official Form 103A).

Q) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

: 10. Are any bankruptcy
cases pending or being
filed by a spouse whe is
not filing this case with
you, or by a business
partner, or by an
affiliate?

- 14. Do you rent your
residence?

Official Form 101

 

WI No
L) Yes. District When Case number
MM / DDI YYYY
District When Case number
MM/ DDI YYYY
District When Case number
MMs DD/YYYY
Wd No
() Yes. Debtor Relationship to you
District When Case number, if known

 

MM /DD /¥YYY

Debtor Relationship to you

District When Case number, if known
MM/DD?/ YYYY

LI No. Go to line 12,
WI Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

M4 No. Go to line 12.

C) Yes, Fill out nitial Statement About an Eviction Judgment Against You (Form 101A} and file it with
this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1

Case 19-42211 Doci1 Filed 08/14/19 Entered 08/14/19 14:33:24 Desc Main Document

Jennifer

Marie

Page 4 of 55

Tollett

Case number Gr known)

 

First Name

Middle Name

Las! Name

as Report About Any Businesses You Own as a Sole Proprietor

 

. 12. Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

i 43. Are you filing under

Chapter 11 of the
Bankruptcy Code and
are you a smaii business
debtor?

For a definition of srmaff

business debtor, see
14 U.S.C. § 104(54D).

bd No. Go to Part 4.

LJ Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZIP Cade
Check the appropriate box fo describe your business:

LJ Health Gare Business (as defined in 11 U.S.C. § 101(27A))

im Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

L) Stockbroker (as defined in 11 U.S.C. § 101(53A))

LJ Commodity Broker (as defined in 11 U.S.C. § 101(6)}

LJ None of the above

if you are filing under Chapter 11, the court must know whether you are a smai{ business debtor so that it
can set appropriate deadlines. lf you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

i No.
L) No.

| am not filing under Chapter 171.

fam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

ft Yes. fam filing under Chapter 11 and | am a small business debtor according to the definition in the

Bankruptcy Code.

part a: | Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

44,

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Farm 101

4 No

L) Yes. What is the hazard?

 

 

H immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

Gity State

ZIP Gode

Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 Jennifer Marie __Tollett

 

First Name

Middle Name

Last Namne

Case number (if krawn),

aa Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit

counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not

eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
¢an begin collection activities

again.

Official Form 101

About Debtor 1:

You must check one:

(dl | received a briefing from an approved credit
counseling agency within the 180 days before |
fited this bankruptcy petition, and | received a
certificate of completion,

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

L) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Chi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

L) lam not required to receive a briefing about
credit counseling because of:

Ll) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check ane:

L) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CI | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion. i

Within 14 days after you file this bankruptcy petition, |
you MUST file a copy of the certificate and payment
plan, if any.

LI | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver i
of the requirement. i

 

To ask for a 30-day temporary waiver of the i
requirement, attach a separate sheet explaining |
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances |
required you to file this case. !

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must |
stil receive a briefing within 30 days after you file.
You must file a certificate from the approved i
agency, along with a copy of the payment plan you |
developed, if any. If you do not do so, your case
may be dismissed.
Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15 i
days. :

CL) | am not required to receive a briefing about
credit counseling because of: |

C) Incapacity. | have a mental illness or a mental
deficiency that makes me :
incapable of realizing or making
rational decisions about finances,

CJ Disability. My physical disability causes me |
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

() Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court. |

Bankruptcy page 5
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Debtor 1

Jennifer Marie

Tollett

Case number (if known)

 

First Name Middle Name

| Part 6: | Answer These Questions for Reporting Purposes

Las Name

Page 6 of 55

 

46. What kind of debts do
' you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LJ No. Go to line 16b.
Ml Yes. Go to line 17.

16. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

Y] No. Go to line 16c.
L) Yes. Go to line 17.

16c, State the type of debis you owe that are not consumer debts or business debts.

 

 

-47. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

CL) No. iam not filing under Chapter 7. Go to line 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and Wd No
administrative expenses
are paid that funds will be O) Yes
available for distribution
to unsecured creditors?
| 18. How many creditors do A 1-49 i] 1,000-5,000 L) 25,001-50,000
you estimate that you L) 50-99 L) 5,001-10,000 i 50,001-100,000
owe? LJ 100-199 LY 10,001-25,000 LJ More than 100,000
L) 200-999
' 49. How much do you J $0-$50,000 C} $1,000,001-$10 million LJ $500,000,001-$1 billion

estimate your assets to
be worth?

LJ $50,001-$100,000
UI $100,001-$500,000
C) $500,001-$+ miltion

LJ $10,000,001-$50 million
CJ $50,000,001-$100 million
LJ $100,000,001-$500 million

LJ $4, 000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
L) More than $50 billion

 

_ 20. How much do you
estimate your liabilities
to be?

Sign Below

: For you

QO $0-$50,000

&é] $50,001-$100,000
LJ $100,001-$500,000
CJ $500,001-$1 million

C) $1,000,001-$10 million

LJ $10,000,001-$50 million
CJ $50,000,001-$100 million
CJ $100,000,001-$500 million

C) $500,000,001-$1 billion

L) $1,000,000,001-$10 billion
L} $10,000,000,001-$50 billion
L) More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 US. . §§ 152, 1341, 1519

|,

 

x) Z Al

Signpfture of Debtor 1

Executed on 0 fy & a 1

fb 1YYTY

id 3571.

 

rf

Executed on
MM / DD LYYYY

Signature of Debtor 2

 

PEDO Ty OE TOIT

Official Form 101

PETE Tee EE

CFT LL RE a TI

Voluntary Petition for Individuals Filing for Bankruptcy

Ta ENE RE EE eS ae eS TE

 

 
 

 

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Debtor 4 Jennifer Marie Tollett Case number ( inown)
First Name Middle Name Last Name
{PRESET Fa RE EE! RS ee De Ee RE DR rae TS SO EO eat

For your attorney, if you are
: represented by one

If you are not represented
’ by an attorney, you do not
’ need to file this page.

 

Official Form 104

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility

to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

knowledge after an inquiry that the information In the schedules filed with the petition is incorrect.

x Date

Signature of Attorney for Debtor MM /

 

DD iYYYY

 

Printed name ?

 

Firm name 4

Number Street ’

 

City “ State ZIP Code

Contact phone Email address

 

 

Bat number

State

 

Voluntary Petition for Individuals Filing for Bankruptcy

page 7

 

 
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Debtor 1 Jennifer Marie Tollett Case number ¢f known)
Firsi Name Middie Name Last Name
ASS Bees Fo) Eee a CPF eg RE AC RTS ae os Eo ee ee ar Ra eT Ss Sn Se Sa ee ee eae

For you if you are filing this
bankruptcy without an
attorney

. If you are represented by
' an attorney, you do not
need to file this page.

x sult Te , x

 

Official Form 101

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court, Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not fist
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debis if you do something dishonest in your bankrupicy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the Jacal rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No
id Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

QJ No
id Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

I No

UL Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
atfexney may cause me to lose my rights or property if | do not properly handle the case.

 

 

 

 

 

 

cafe of bébtor 1 | Signature of Debtor 2
oa §—-08/14/ BOR Date
MMT DD ‘7YYYY MM? BD TWYY
Contact phone 214-714-1279 Contact phone
cellphone §=214-714-1279 Cell phone
Emailadéress j|Mtollett@yahoo.com Email address

 

 

 

EERE FE ES PRL ET ARON Pe oR SR Re, EL: LR Tea pees eee ed

Voluntary Petition for Individuals Filing for Bankruptcy page 8

 
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Fill in this information to identify your case and this filing:

 

 

 

bebtor1 Jennifer Marie Tollett
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name |
United States Bankruptcy Court for the: Easte m District of Texas

 

(State)
Case number

 

UJ Check if this is an
amended filing

 

Official Form 106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

a Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

: 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

| Ad No. Go to Part 2.

i LJ Yes. Where is the property?

: . y . . .

What Is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
Lt} Single-family home the amount of any secured claims on Schedule D:

41. Creditors Who Have Claims Secured by Property.

QQ Duplex or multi-unit building

 

Street address, if available, or other description

 

 

 

 

 

 

(J Condominium or cooperative Current value of the Current value of the -
L] Manufactured or mobile home entire property? portion you own?
LJ Land $ $
LJ investment property
- (J timeshare Describe the nature of your ownership
City Stale ZIP Cade Uo interest (such as fee simple, tenancy by
ther the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
CY Debter 1 only

County UJ Debtor 2 only

(3 Debtor ¢ and Debtor 2 only LJ Check if this is community property

C1 At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

if you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

Ld) Single-family home the amount of any secured claims on Schedule D:

42. Creditors Who Have Claims Secured by Property.

 

Q) Buplex or multi-unit buitdi
Street address, if available, or other description pie mu ng

 

 

 

J Condominium or cooperative Current value ofthe Current value of the -
QJ Manufactured or mobile home entire property? Portion you own?
LJ Land $ $
LJ Investment property . .
Cily Sate ap Cors | YI Timeshare interest (euch as fee alnuple. tenaney by
L) other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
LJ Debter 1 only

 

 

County LJ Debtor 2 only
Q) Debtor 1 and Debtor 2 only (J Check if this is community property
(J At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 
Debtor 1

First Name Middle Name

1.3.

 

Street address, if available, or other description

 

 

 

CL) Land $ $
LJ investment properly

City State ziPCoge (J Timeshare Describe the nature of your ownership

interest (such as fee simple, tenancy by

L) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
LL] Debtor 4 only

County (} Debtor 2 only
(J Debtor 1 and Debtor 2 only QO) Check if this is community property
() At least one of the debtors and another {see instructions)
Other information you wish to add about this item, such as local
property identification number:

: 2, Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages 30
you have attached for Part 1. Write that number here. .............0.cccccccccescccssesceeeseneeeceeceeeanaaeeneanerstnaaeeveneeeenenaners > | ON,

ay Describe Your Vehicles

Jenniieti Marieites osl@lettentered 08/14/19 14:33:24 c&esminteinRasument

Last Name

What is the property? Check all that apply.
| Single-family home

L) Duplex or multi-unit building

CY Condominium or cooperative

(J Manufactured or mobile home

 

Page 10 of 55

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the ©

entire property? portion you own?

 

 

 

 

 

 

 

: Do you own, tease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
; you own that someone else drives. If you lease a vehicle, also report iton Schedule G: Executary Contracts and Unexpired Leases.

; 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

LI No

dl Yes

3.1. Make: Lexus
Model: Rx 350
Year: 2015

Approximate mileage: 44,000

Other information:

vin# 2T2ZK1 BOFC18394?

 

 

 

 

Hf you own or have more than one, describe here:

32 Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.
{i Debtor 1 only

LJ Debtor 2 only

LJ Debtor 1 and Dabtar 2 only

(J At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 4 only

L) Debtor 2 only

(] Debtor 4 and Debtor 2 only

() At least one of the debtors and ancther

() Check if this is community property (see
instructions)

- Do nol deduct secured claims or exemptions. Put

the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the |

entire property? portion you own?

$19,500 319,500

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:

Credifors Who Have Claims Secured by Property.

Current value ofthe Current value of the :

entire property? portion you own?
Debtor 4 Jennifer, Mare Doc Toblettos ano Entered 08/14/19 14:33:24 CBsesoulviedn (deatament Page 11 of 55

First Name Middle Name

33. Make:
Model:
‘Year:
Approximate mileage:

Other information:

 

 

 

 

34. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

C] Debtor 4 only

L] Debtor 2 only

lal Debtor 1 and Debtor 2 only

() At least one of fhe debtors and another

Lj Check if this is community property (see
instructions}

Who has an interest in the property? Check one.

C) Debtor 4 only

LJ Debtor 2 only

L} Debtor 4 and Debtor 2 only

[.) At least one of the debtors and another

LL] Check if this is community property (see
instructions)

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the ammount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Properly.
Current value of the Current value of the °
entire property? portion you own?

Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

WW No
C Yes

41. Make:
Medel:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2, Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
: - you have attached for Part 2. Write that mumber Were 0... ee cee cee eesesceeeneserereeeeeeeeeeecenceeseeeeranenvnmmenesiitautenscasieseny

Who has an interest in the property? Check one.

LJ Debtor 4 only

() Debtor 2 only

J Debter 1 and Debtor 2 only

(L) At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

LI} Debtor 4 only

() Debtor 2 only

(2) Debtor 1 and Debtor 2 only

{J} At teast one of the debtors and another

UC) Check if this is community property (see
instructions}

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedu/e D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do nat deduct secured claims or exemptions. Put

the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.
Current value of the Current value of the .
entire property? portion you own?

 

519,500

 

 

 
Debtor 1 Jertaifer-42211 Marie Filefigfetto Entered 08/14/19 14:33:24 .Resc.Maip Pocument Page 12

 

of 55

 

Firsl Name Middle Name Last Name

Describe Your Personal and Household Items

_ Do you own or have any legal or equitable interest in any of the following items?

Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
O No fe ee ce eee eee ee eee eee tee

VW] Yes. Desctibe......... . .
furniture, appliances,

 

Current value of the

portion you own? :
Do not deduct secured claims.
or exemptions. , :

33,000

 

Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment, computers, printers, scanners; music
collections: electronic devices including cell phones, cameras, media players, games

LJ No

 

M4 Yes. Describe.........

 

Tv, computer, laptop, iwatch, camera, ipad

$3,000

 

 

Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
dl No

 

L) Yes. Describe.........]

 

 

Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

4 No

 

L} Yes. Describe.........

 

 

 

' 10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

4] No

 

LJ Yes. Describe.........

 

 

41. Clothes

- 13.

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

Q] No

 

Wl Yes. Deseribe........./

 

52,000

 

everyday clothes, shoes, accessories

 

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

L] No
MI Yes. Describe. ......... everyday jewelry

Non-farm animals
Examples: Dogs, cats, birds, horses

LI Noe
{4 Yes. Describe.......... dog |

 

 

 

 

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here 0c ceseecse entire rseaeeicint ae aeiiaan nieausie eames ace eeecee SD

Vd Ne

Ll Yes. Give specific
information...............

 

 

 

3000

3100

 

50,600

 

 

 
Debtor 4 Jennifer19-ari@oc 1 Teptety14/19 Entered 08/14/19 14:33:24 cResaMainAegument Page 13 of 55

 

 

Firs] Name Middle Name Last Name

Ea Describe Your Financial Assets

: Do you own or have any legal or equitable interest in any of the following?

Current value of the
portion you own?

De not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

or exemptions.
16, Cash
Examples: Money you have in your wallet, in your hame, in a safe deposit box, and on hand when you file your petition
CL) No
4] NOS. eee cece cette ceeneee cen ceececseccenseseeceseseeeaeecandacheeesaeeeestadenenecaeetientesteeteeee cates PSE PT PEROT SE TEPT ERLE TELE ETSETSTCEE TEETER SE ED Cash g1 00
17. Deposits of money
: Exampies: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and ather similar institutions. If you have multiple accounts with the same institution, list each.
LJ No
WA Yes. institution name:
17.1. Checking account: Chase 33,000
17.2, Checking account: 5
17.3, Savings account: RBFC U 31 43
17.4, Savings account: $
17.5. Gentificates of deposit: *
17.6, Other financial account: $
17.7. Other financial account: g
17.6. Other financial account: 5
17.9, Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Band funds, investment accounts with brokerage firms, money market accounts
LI Ne
BA Yesocn institution or issuer name:
Etrade s300
$
3

 

49. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

No Name of entity: % of ownership:

L] Yes. Give specific
information about
THEM. nesses %

%

%

 

 
Debtor 4 Jenrifer19-44arieoc Totletbs/14/19 Entered 08/14/19 14:33:24 .. Rese Main, Rocument

 

First Name Middle Name Las! Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

i No

L) Yes. Give specific Issuer name:
information about

Page 14 of 55

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHEM. vacacssissies vee 5
$
$

. 21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
UL No
4 Yes. List each
account separately.. Type of account: Institution name:
401k} or similar plan: §
Pension plan. $
IRA: Etrade 3200
Retirement account:
Keogh: $
Additional account: $
Additional account: $
22, Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
campanies, or others
4 No
DY VeS cece Institution name or individual:
Electric: 5
Gas: %
Heating oil: $
Security deposit on rental unit $
Prepaid rent: $
Telephone: $
Water: 3
Rented furniture: $
Other: $
23, Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
4d] No
(<n Issuer name and description:
5
$

 
chenniieniMearie Alellestt4/19 Entered 08/14/19 14:33:24 in Document Page 15 of 55
Debtor 4 case Horie Haat

 

First Name Middle Name Lasl Name

' 94. interests in an education IRA, in an account ina qualified ABLE program, or under a qualified state tuition program.

26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b}(1).

V4 No
TE

 

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1}, and rights or powers

exercisable for your benefit

4] No

 

(J Yes. Give specific
information about them. ..

 

 

. 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royaities and licensing agreements

i] No

 

L] Yes. Give specific
information about them. ..

 

 

: 27, Licenses, franchises, and other general intangibles

Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

I No

 

L] Yes. Give specific
information about them. .

 

 

 

’ Money or property owed to you?

28. Tax refunds owed to you
No

 

LI Yes. Give specific information
about them, including whether
you already filed the returns
and the tax years...

 

Federal:
State:

Local:

 

 

; 29. Family support

Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

WM No

 

L) Yes. Give specific information..............

 

Alimony:
Maintenance:
Support:

| Divorce settlement:

Property settlement:

 

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,

Social Security benefits; unpaid ioans you made to someone else

id No

 

1) Yes. Give specific information. ..............

 

 

 

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

eo 4 1 fF
Debtor 1 JennieriuMavie Falkettsi9 entered 08/14/19 14:33:24 cReswMaipRasument Page 16 of 55

 

First Name Middla Name Last Name

i 31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

4 No

LI Yes. Name the insurance company

7 - Company name: Beneficiary:
\ of each policy and list its value. ..

Surrender or refund value:

 

| 32, Any interest in property that is due you from someone who has died

\f you are the beneficiary of a tiving trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

VI No

 

LI Yes. Give specific information. ............

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Wd No

 

LJ Yes. Describe each claim... cn.

 

 

 

: 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

i No

 

CL) Yes. Describe each Claim... cc.

 

 

 

: 35. Any financial assets you did not already list

 

bd No

L Yes. Give specific information............

 

 

' 96. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here a0... ccceccsccscsceeecsssssecsessssecssecssssrcctuseratsensetiesenersteariersemeetnnesmusrtmirssenneesssses SP

 

33,743

 

 

 

aa Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
: [A No, Go to Parté.
2 Yes. Go to line 38.

: 38. Accounts receivable or commissions you already earned

Y) No

Current value of the
portion you own?

Oc not deduct secured claims °
or exemptions.

 

Q] Yes. Describe.......

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

LJ No

 

WW Yes. Describe......

 

Printer, shredder, chair

100

 

 
Debtor 1 Jennifer1s Maniepodollath 08/14/19 Entered 08/14/19 14:33:24 cReseMainagument Page 17 of 55

First Name Middle Name Lasi Name

 

 

: 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

M4] No
L) Yes. Deseribe......; :

 

 

 4t.dinventory
¥I No
UL) Yes. Describe... 5

 

 

 

 

' 42 Interests in partnerships or joint ventures

bd] No

C] Yes. Describe... Name of entity: % of ownership:

 

% $
%
% $

 

43. Customer lists, mailing lists, or other compilations
hd No
L} Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A)})}?
L} No
LI Yes. Describe.........

 

 

 

 

44, Any business-related property you did not already list
Ka No

L) Yes. Give specific
information .........

 

 

 

 

 

4 <9 << © &

 

 

. 45. Add the dollar value of all of your entries from Part §, including any entries for pages you have attached ¢1 a0
for Part 5. Write that MUMber Weve seu see csecscsessecnee anecuiee ne cus useantcies nonsense nnstcecnencnianecncrimenincein es ae

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

: 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
MW No. Go to Part 7.
Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

¥] No

 

 

 

 
bebtor 4 Jennifer varie Tolletbs/14/19 Entered 08/14/19 14:33:24 cReseiMein Pagument Page 18 of 55

 

First Name Middle Name Last Name

48. Crops—either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: YI No
:  () Yes. Give specific
information. ............ | $
' 49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
¥I No
PD Yes cee f |
! | ls
50. Farm and fishing supplies, chemicals, and feed
kd No
: Ob Yes. ~~ — “
| 3
51. Any farm- and commercial fishing-related property you did not already list
i No
LI Yes. Give specific
information. ............ $
' §2, Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached 30
for Part 6. Write that MUMBO HOPG occ sa scssseesesseseeessosssseccsscsossosseoesnendseneessoneeesicacentcuscase caustuimavanseessesessesseeseeeceeces SD
Describe All Property You Own or Have an Interest in That You Did Not List Above
"53. Do you have other property of any kind you did not already list?
Examples: Seascn tickets, country club membership
id No
CL] Yes. Give specific $
information. ........... $
$
' 54. Add the dollar value of all of your entries from Part 7. Write that number here oo... eccrine g0
List the Totals of Each Part of this Form
' 55, Part 1: Total real estate, Time 2......ccccccsccsssssccssscecsessnusnsnese-senteaite > 30

; 56. Part 2: Total vehicles, line 5

: 57. Part 3: Total personal and household items, line 15

' 58.Part 4: Total financial assets, line 36

_ 59. Part &: Total business-related property, line 45

' 60. Part 6: Total farm- and fishing-related property, line 52

‘ 8t.Part 7: Total other property not listed, line 54

: $2. Total personal property. Add lines 56 through 61.........0.......

63. Total of ail property on Schedule A/B. Add line 55 + line 62

519,500

38,600

$3,143

5100
30

+50

 

. | $31,943

 

 

 

 

Copy personal property total > + ro 943

 

sesnneeunanseunenseunsitetvaneene $31,943

 

 

 
Case 19-42211 Doci1 Filed 08/14/19 Entered 08/14/19 14:33:24 Desc MainDocument Page 19 of 55

Fill in this information to identify your case:

Debtor 1 Jennifer Marie Tollett

Firsi Name Middle Name Lasi Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Eastern District of Texas

Case number L) Check if this is an
(i known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 046

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount,

| Part 4: | Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

W You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3)
LL You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. Forany property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim ‘Specific laws that allow exemption

 

 

Schedule A/B that lists this property - portion you own
Copy the value from © Check only one box for each exemption.
Schedule A/B :
Brier Lexus Rx 350 49,500 Us .
description: .
Line from id] 100% of fair market value, upto. § 41.002(a)(9)
Schedule A/3: 0D any applicable statutory limit

Brief ; :
Seserption.  awfniture,applianceg, 3,000 Os

 

 

- 44 100% of fair market value up to
L fi ' 1
Soros ae — oo any applicable statutory iit § 42.002(a){1)
sccerotion: electronics 33,000 Os
Line from 4 100% of fair market value, up to
Schedule A/B: 7 any applicable statutory limit

 

' 3. Are you claiming a homestead exemption of more than $460,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

i No
LJ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

(J No
OO Yes
Debtor 1

Desc Main Document

Sesnifer Mafie ASH erEA9 Entered 08/14/19 14:33:24 Cane uber went

 

Middle Name

es Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Arsi Name

Page 20 of 55

 

Lasl Name

Current value of the
portion you cwn

Copy the value from

 

 

 

 

 

Schedule A/B
description: Clothes 32,000 Os
Line from 11 WI 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
description: Jewelry 3900 Lis
Line from 4] 100% of fair market value, up to
Schedule A/B: 12 any applicable statutory limit
desorption; GOD ss 1000 Us
Line from 13 bd 100% of fair market value, up to
Schedule A/B:  — any applicable statutory limit
seserption: Cash 3100 ¢ 100
Line from 1 6 CI 100% of fair market value, up to
Schedule A/B: Z ; os any applicable statutory limit
description: Deposits of money ,3,143 Os
Line from 17 kdl 100% of fair market value, up to
Schedule A‘B:. ——— any applicable statutory limit

Brief

 

Amount of the exemption you claim

Check only one box for each exemption

. Specific laws that allow exemption

_ 842.002 (ay(2),(9)_

 

 

§ 42.002 (a)(6)

§ 42.002 (a)(10),(11)

 

§ 42.002

 

§ 42.002

 

 

 

 

 

 

 

 

 

§ 42.0021.

 

§ 42.0021.

 

 

§ 42.002 (a)(1)

 

 

 

Ses eription Publicly traded stocks 300 Os

escription: ee

Line from 18 id] 100% of fair market value, up to
Schedule A/B: any applicable statutery limit
‘ecarigtion: —etirementAcct 5200 Os

Line from 21 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
description: Office equipt 5100 Us

Line from . 39 i 100% of fair market value, up to
Schedule A/B: ——- any applicable statutory limit
Brief

description: $ Us

Line from LY 100% of fair market value, up to
Schedule A/B:. 77 any applicable statutory limit
Brief

description: 5, Ls

Line from LJ 100% of fair market value, up to
Schedule A/B: Any applicable statutory limit ————
Brief

description: $ is

Line fram C) 100% of fair market value, up to
Schedule A/B; ———— any applicable statutory limit
Brief

description: $ Lis

Line from L) 100% of fair market value, up to

Schedule A/B:

any applicable statutory limit

 
Case 19-42211 Doci1 Filed 08/14/19 Entered 08/14/19 14:33:24 Desc Main Document

Fill in this information to identify your case:

 

pebtor1 vennifer Marie Tollett

 

 

First Name Middle Name Last Name
Debtor 2
{Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Eastern District of Texas

(Stale)

Case number
(If known)

 

 

Official Form 106D

 

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Q)

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it fo this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

LJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

V4 Yes. Fill in all of the information below.

| Part 4: | List All Secured Claims

Column A-

2, List all secured claims. If a creditor has mere than one secured claim, list the creditor separately Amount of claim -

. for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.

Do not deduct th
As much as possible, list the claims in alphabetical order according to the creditor's name. r lateral

 

 

Colunrm B

Check if this is an
amended filing

42/15

Column C

Value of collateral - Unsecured |
‘that supports this © portion |

 

 

 

 

 

 

 

 

 

 

value of collateral. claim If any
2.1] Describe the property that secures the claim: 331 756 gt 9,500 $ |
Creditors Name 7 i
ae Vin # 2T2ZK1 BAOFC183942 :
Ally Financial |
Number Street 2015 Lexus Rx 350 |
P.O. Box 380901 As of the date you file, the claim is: Check all that apply.
; O] Contingent
Bloomington, MN 55438 Ww Unliquidated |
Cily Slale ZIP Code | Disputed |
Who owes the debt? Check one. Nature of lien. Check all that apply. |
td Debtor 1 only An agreement you made (such as mortgage or secured |
() Debtor 2 only car loan)
(J Debtor 4 and Debtor 2 only LL) Statutory lien (such as tax lien, mechanic's lien)
(] Atleast one of the debtors and another QC) Judgment lien from a lawsuit
QC) other (including a right to offset) :
Q] Check if this claim relates to a
community debt
Date debt was incurred 11/21/18 Last 4 digits of account number_1 4A 4 8 :

| 2.2] Nebraska Furnitu re Mart Describe the property that secures the claim: 51,464 $ $

 

 

 

Creditors Name

Cynthia Reed, Legal Coordinator :
COC yninia. g appliances

PO Box 3456 As of the date you file, the claim is: Check all that apply.
) Contingent

Omaha, NE 68103-0456 G8 Unliquidated

 

 

 

 

 

City Stale IP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
4 Debtor 4 only QO An agreement you made (such as morigage or secured
(A) Debtor 2 only car loan}
Q) Debtor 1 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic’s lien)
(J Atleast one of the debtors and another LJ Judgment lien from a lawsuit

other (including a right to onset) CTECit Card
() Check if this claim relates to a

community debt
Beak
Date debt was incurred201 8 Last4 digits ofaccountnumber _ 6539624

 

 

_Add the dollar value of your entries in Column A on this page. Write that number here: bas 220

 

 

 
oP4 Desc Main Document

  

Fill in this information to identify your case:

Debtor 1
Firs| Name Middte Name

Debtor 2
(Spouse, if filing} First Name Middle Name Last Nama

 

United States Bankruptcy Court for the: Eastern District of Texas
(State)

Case number
(IF known}

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

Page 22 of 55

CJ Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G; Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
tl No. Go to Part 2.

 

 

 

 

 

 

 

 

 

 

|
|
|
» EN Yes. CS | a
: 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
; each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
j nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
i unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
(For an explanation of each type of claim, see the instructians for this form in the instruction booklet.}
. Total claim Priority Nonpriority |
. _ amount amount :
2.1
Last4adigits ofaccountnumber Ss  —siéS, 5 5
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
city State ZIP Code C1 Contingent
Unliquidated
Who incurred the debt? Check one. 0 pi
| isputed !
j 4 Debtor 1 only i
(2 Debter 2 only Type of PRIORITY unsecured claim:
5 Bebtor 1 and Debtor 2 only OQ domestic support obligations
At least one of the debtors and another U Taxes and certain other debts you owe the government
U) Check if this claim Is for a community debt 1 claims tor death or personal injury while you were
Is the claim subject to offset? mtoxicated
Wd No 4 other. Specify
UJ Yes
b2 |
Last4 digits ofaccountnumber_ sg § $

 

 

Priority Credilor's Name
When was the debt incurred?

 

 

 

Number Sireet
As of the date you file, the claim is: Check all that apply.
Q Contingent

Cily State ZIP Code QJ) unliquidated

Who incurred the debt? Check one. 1 Disputed

(J Debtor 4 only

C} Debtor 2 only

(2) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

Type of PRIORITY unsecured claim:
Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

ld Check if this claim is for a community debt

O OOO

ls the claim subject to offset?

No
_ C) Yes

 

 

 

—

 
ve hdiecla Name

} Part 2: All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

   

First Name

 

 

 

 
 

1
|
L1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
|

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Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
i claims fill out the Continuation Page of Part 2. . . |
| _ Total claim 4
7 AT&T Uverse Last 4 digits of accountnumber 4 8 8 4 __ 500
Nonpriority Credilor's Name 201 9 Su
Wh i (?
PO Box 5014 en was the debt incurred
Number Street
Carol Stream, IL 60197-5014 ; .
City State ZIP Code As of the date you file, the claim is: Check all that apply.
O Contingent
Who incurred the debt? Check one, unliquidated
\d Debtor 4 only Q) Disputed
Q) Debtor 2 only |
(A Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(Cd At least one of the debtors and another C2 student Joans
O Check if this claim is for a community debt (J Obligations arising out of a separation agreement or divorce
thal you did not report as priority claims
Is the claim subject to offset? £1 Debts to pension or profit-sharing plans, and other similar debts
4 No @ other. Speciy internet service
pecify
) Yes
| 2549 8,346
12 Best Buy / CBNA Last 4 digits of account number ee GOO
Nonpriority Creditors Name When was the debt incurred? 2018 _
PO Box 6497
Number Slrest
: As of the date you file, the claim is: Check all that appl
Sioux Falls, SD 57117 » pey
Cily State ZIP Code oO Contingent
Who incurred the debt? Check one. 2 Unliquidated
&d Debtor 4 only O) Disputed
QJ pebtor 2 only .
D pebtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(2 At least one of the debtors and another CJ Student loans
1 ae — . {] Obligations arising out of a separation agreement or divorce
C) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C1 Debts to pension or profit-sharing plans, and other similar debts
W No i) Other. Specify credit card
L] ves
4.3 . _.
bs | Capital One Bank USA NA Last 4 digits ofaccount number 838? 948
Nonpricrily Graditer’s Name When was the debt incurred? jan 2019 ——S—___— |
PO Box 30281 :
Number Street |
' Salt Lake City, UT 84130-0281 as otthed f faim
oy sie FF Gade of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. a Contingent
gd re Unliquidated
Debtor 1 only oO Disputed
L] Debtor 2 only
U1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
( At ieast one of the debtors and another
{9 Student loans
Q) Check if this claim is for a community debt () obligations arising out of a separation agreement or divorce
is the claim subject to offset? that you did not report as Priority claims 7
Qn (J mebts ta pension or profit-sharing plans, and other similar debts
° other Specity credit card
3 Yes

 

 

 

 
 

 

 

Jenni | |

Firs| Name Middle Name Lasi Name

 

 

 

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pon 2 RE NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

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Total claim,
4 Capital One Bank USA NA Last 4digits ofaccountnumber 3931) 5 937
Nonpriorily Credifor's Name .
2 jan 2019
PO Box 302814 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that appt
. , : apply.
Salt Lake City, UT 84130-0281
City Siale ZIP Cade Q Contingent
a Unliquidated
Whe incurred the debt? Check one. QO Disputed
hd Debtor 4 only
LJ] Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CJ Student loans
At least one of the debtors and another U Obligations arising out of a separation agreement or divorce that
LJ Check if this claim is for a community debt you did not report as priority claims ,
{3 Debts to pension or profit-sharing plans, and other similar debls
Is the claim subject to offset? & other. Specifycredit card
fd Ne
(Yd Yes
4, q kek
sat 4 digi t numbeO4241 8129439" 1,995
Citicards CBNA Last 4 digits of account num eb4z Slolevs $ 9
Nonpriorily Creditors Name ‘
When was the debt incurred? jan 2019
PO Box 6241
bi Straat
Number ee 4s of the date you file, the claim is: Check all that apply.
ssioux Fails SD 57117
City State ZIP Code CJ contingent
Unliquidated
Who Incurred the debt? Check one. Disputed
] Debtor 4 only
CY Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 4 and Debtor 2 only Q Student loans
At leasl one of the debtors and anather O Obligations arising out of a separation agreement or divorce that
LJ Check if this claim is for a community debt you did not report as priority claims .
i LI Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? (other. Specify credit card
| {dl No
C) Yes
de] ween 93,239
i Last 4 digits of account numbeO 4241 81 29405 OT
Citicards. CBNA 9 ee
Nenpeority Creditors Name . 201 9
When was the debt incurred? jan
PO Box 6241
Number Street . ae
| Sioux Falls, SD 57117 As of the date you file, the claim 16: Check all that apply.
Gily Stale ZIP Code oO Contingent
eh Unliquidated
Who incurred the debt? Check one. 1 bisputed

 

YW Debtor 4 only

(J Debtor 2 only

(I) Debtor 4 and Debtor 2 only

CJ At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

YZ No

Type of NONPRIORITY unsecured claim:

{1 Student loans

LJ Obligations arising oul of a separation agreement or divorce that
you did not report as priority claims

LJ Debts to pension or profit-sharing plans, and other similar debts
MJ Other. Specify credit card

 
 
 
   

FirsL Name

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

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3. Do any creditors have nonpriority unsecured claims against you?

Yes

claims fill out the Continuation Page of Part 2.

}
L

LA | Credit Protection Association, LP

Nonopriorily Gredilor's Name

c/o North Texas Tollway Authority

Number Street

PO Box 207839

 

 

 

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do net list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

Total claim _

— 3298

Last 4 digits of account number _~'~ 5503

2019

When was the debt incurred?

 

 

 

 

 

Q) Debtor 2 only
() Debtor 1 and Debtor 2 only
(2 At least one of the debtors and ancther

C) Check if this claim is for a community debt

Is the claim subject to offset?
No
LI yes

Cily Stala ZIP Code As of the date you file, the claim is: Gheck all that apply.
Dallas, TX 75320-7899
Q Contingent
Who incurred the debt? Check one. C2 unliquidated
fd Debtor 1 onty Q) Disputed
! C) Debtor 2 only
(] Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
LJ Atleast one of the debtors and another Student loans
L] Check if this claim is for a community debt QJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (J Debts te pension or profit-sharing plans, and other similar debts
I No other. Specify tolls
CI Yes
He | Credit Management, LP Last 4 digits of account number 9190) $1,464
Nonpriority Creditors Name When was the debt incurrad? 2018
| 6080 Tennyson Parkway, Ste 100
Number Street
Plano, TX 75024-6002 As of the date you file, the claim is: Check all that apply.
City State ZIP Cade gO Contingent
Who incurred the debt? Check one, C) Uniiquidated
&d Debtor 41 only O Disputed

Type of NONPRIORITY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify tolls

 

BO oo

 

 

4} Credit Protection Association, LP
Nonpriority Creditors Name
c/o North Texas Tollway Authority
Number Slreel

PO Box 207899

 

 

 

State ZIP Code

" Dallas, TX 75320-7899
Who incurred the debt? Check one.

kd) Debtor 1 only

UI Debtor 2 only

Q) Debtor 4 and Debtor 2 only

CJ At least one of the debtors and another

| Q) Check if this claim is for a community debt

Is the claim subject to offset?
J No
UL Yes

 

Last 4 digits of account number

5846
2019,” s181

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q) Contingent
CY Unliguidated
( Disputed

Type of NONPRIORITY unsecured claim:

1 Student loans

| Obligations arising cut of a separation agreement or divorce
that you did not report as priority claims
QO) Debts to pension or profit-sharing plans, and other similar debts

kd other. Specify tolls

 

 

 
 
  

 

 

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| Part 2: | List All of Your NONPRIORITY Unsecured Claims

 

| 3. Do any creditors have nonpriority unsecured claims against you?

1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

: 4. List alt of your nonpriority unsecured ciaims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim; list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

!
|
i
{
i
1
} claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

QO) Yes

other. Specify red light camera ticket

 

} Total claim |
rm Discover Financial Svc LLC Last 4 digits of account number S694 eee 20.188
Hy 10 Nenpriarity Creditor's Name 201 8 soveroa.
PO Box 15316 When was the debt incurred?
Number Street
Wilmington, DE 19850-5316
City - State ZIP Cade As of the date you file, the claim is: Check all (hal apply.
Q Contingent
Who incurred the debt? Check one. QO) unliquidated
ld Debtor 1 only QO) Disputed
i Q) Debtor 2 only
(J Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
() At least one of the debtors and another 1 student loans
Q) Check if this claim is fora community debt QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? Q) Debts to pension ar profit-sharing plans, and other similar debts
W No YJ Other. Specify Credit card
C] yes
ra .G. SYSTEM, INC Last 4 digits of account number OOO1 g2i1
uy Nonpriority Creditors Name When was the debt incurred? 2018
C4. ——.
PO BOX 64378
Number Streal
SAINT PAUL, MN 55164-0378 As of the date you file, the claim is: Check all that apply. |
City State ZIP Code g Contingent
. . !
Who incurred the debt? Check one. 1 unliquidated
i ld Debtor 1 only 4 Disputed
Q) Debtor 2 only NPRI TY d claim:
O Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(1 At least one of the debtors and another C) Student loans
a. . QO) Obligations arising out of a separation agreement or divorce
Q) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? Q Debts to pension or profit-sharing plans, and other similar debts |
@ No &) Other. Specify phone service j
QO Yes i
to | Linebarger Goggan Blair & Sampson, LLP act 4 digits of account number _9929° _ 1 ao
dy 2 Nonpriorily Creditors Name Wh the debti d? 201 8 st
4. PO Box 659443 en was the debt incurred?
Number Street
San Antonio, TX 78265-9443 in ig:
Ty L Sine FIP Code As of the dafe you file, the claim is: Check all that apply.
i i
Who incurred the debt? Check one. a Contingent !
w Wl Unliquidated |
Debtor 1 only gO Disputed
Q) Debtor 2 only ;
O) Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim: |
C) At least one of the deblors and another i
QO) Student loans |
] Check if this claim is for a community debt QJ Obligations arising out of a separation agreement or divorce |
that you did not report as priority claims
an clalm subject to offset? C) Pebts to pension or profit-sharing plans, and other similar debts |
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Jennifer Marie [ollett. 4 6/1419 Entered-06/14/19 14:33:24 -Desc Main Docurment—Page2+of55—__-_-—-_——_

eat: Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Nordstrom TDBank USA

 

Nonpriorily Creditar's Name

13531 E Caley Ave

 

Number Street

 

Englewood, CA 80111
Cily

Total claim

Last 4 digits of account number 41 47211 03403"""" ¢3,1 11
jan 2019

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

(4) Debtor + only

LY Debtor 2 only

Q) Debtor 1 and Debtor 2 oniy

LJ At teast one of the debtors and another

() Check if this claim is for a community debt

ls the claim subject to offset?

{4 No
Q) Yes

QO) unliquidated
a Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q Objigations arising out of a separation agreement or divarce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts
ld) ther. Specify tolls

Slale ZIP Code LJ Contingent
O Unliquidated
| Who incurred the debt? Check one. QO Disputed
fd Debtor 4 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only 2 Student loans
Atleast one of the debtars and another Q) Obligations arising out of a separation agreement or divorce that
() Check if this claim is for a community debt you did not report as priority claims _
( Debts to pension or profit-sharing plans, and cther similar debts
Is the claim subject to offset? &) other. Specify credit card
No
! O Yes
i
|
North Texas Tollway Authority Last 4 digits of account number _ 7918 s4/4
44 Nonpriorlly Crediior's Name : 901 9
PO Box 660244 When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Dallas, TX 75266-0244
City Slate ZIP Code C1 contingent \
{] Unliquidated i
Who incurred the debt? Check one. O Disputed
ll Debtor 4 only
C2 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only Student loans
At least one of the debtors and another 2 Obligations arising out of a separation agreement or divorce that
i () Check if this claim is for a community debt you did not report as Priority claims a
i QO) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? ) other. Specify tolls |
| id No |
Q) Yes |
aa 376
4 c North Texas Tollway Authority Last 4 digits of accountnumber (918 __
il Nonpriorily Credilors Name 201 9 |
PO Box 660244 When was the debt incurred? |
Number Slreet ;
As of the date you file, the claim is: Check all that apply. i
Dallas, TX 75266-0244 |
City Slate ZIP Cade | Contingent |
Jennifer Marie loltett

 

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| Pare 2: | List All of Your NONPRIORITY Unsecured Claims

 

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| 3. Do any creditors have nonpriority unsecured claims against you?

 

 

L] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

 

 

 

 

 

 

 

Yes
; 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
: nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
} included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3./f you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2, ;
Total claim
443] Professional Account Management, LLC cast 4 aigits of account number 2063 | 38
ra) I Nonpriorily Creditor's Name. 201 8 §
' .
PO Box 863867 When was the debt incurred?
Number Street
City Stale ZIP Code As of the date you file, the claim is: Check all that apply.
Q Contingent
Who incurred the debt? Check one. QU unliquidated
{al Debtor 4 only CI) Disputed
2 Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
| {J At least one of the debtors and another (J stuaent loans
i 1 Check if this claim is for a community debt Gi Obligations arising out of a separation agreement or divorce
that you did not report as pricrity claims
Is the claim subject to offset? LI Debts to pension or profit-sharing plans, and other similar debts
7 No 1 Other. Specify Credit card
i C) Yes
i
20258" 13,350
Randolph-Brooks FCU Last 4 digits of account number gly,
7 Nongriority Credifor's Name When was the debt incurred? 2018 _
‘ c/o Candice Miller |
Number Street
PO Box 2097 As of the date you file, the claim is: Check all that apply.
“Universal City, Tx 78148-2687 9 7" Q) contingent
Who incurred the debt? Check one CJ unliquidated
Wd Debtor 4 only a Disputed
Q) Debtor 2 only -
) Debtor 4 and Dabtar 2 only Type of NONPRIORITY unsecured claim:
C1 Atleast one of the debtors and another {J Student loans
eee ; Cy Obligations arising cut of a separation agreement or divorce
QO) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? CL) Debts to pension or profit-sharing plans, and other similar debts
i 2) other. Specify
{ wl No
Ql) Yes
ts | Sprint Last 4 digits of account number 6496 _ 30200
Nonpriority Creditors N ee
aE 13 Sprang eee Name When was the debt incurred? 2019 9
PO Box 54977
umber treet
El Dorado Hills, CA 90054-0977 ; a
ay Slate FP Gode As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. 4 Uetanigted
4 ceo doak (Disputed
ebtor 2 only
C1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured clatm: |
(J Atleast one of the debtors and another i
LJ Student loans {
CI Check if this claim is for a community debt CJ Obligations arising out of a separation agreement or divorce
. ; that you did not report as priority claims
I
Sh claim subject to offset? CI Debts to pension or profit-sharing plans, and other similar debts |
o ve & other Specify phone bill
es

 
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eS Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim;
4H9 | .
Verizon Wireless Last 4 digits of accountnumber DQ4O 386
Nonpriority Creditors Name
PO Box 6601 08 When was the debt incurred? 201 8
Number Slreet
As of the date you file, the claim is: Check all that apply.
Dallas, TX 75266-0108
Gily Slate ZIP Cade () contingent
C) Unliquidated
Who incurred the debt? Check one. oO Disputed
Gd Debtor 1 only
(1 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O Student loans
At least one of the debtors and anather Q] obligations arising out of a separation agreement or divorce that
LI Check if this claim is fora community debt you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? &) other. Specify phone
yd
id No |
CO} ves |
aes . i
4. OWiliamson Law Firm Last 4 digits of account number 3032 _ ¢1 4498
Noneriority Creditor's Name
2 2017
{ 6633 N DALLAS PKWY #325 When was the debt incurred?
NIC CSE As of the date you file, the claim is: Check all that appl
ate you file, the claim is: Check ail that apply.
ADDISON, TX 75001 pe
City State ZIP Code QO) Contingent
Q Untiquidated
Who incurred the debt? Check one. oO Disputed |
id) Debtor 4 only |
CI Debtor 2 onty Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C1 Student toans
At least one of the debtors and anather Q Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims
i L Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? &) Other. Specify legal fees
| td No
| () yes
4. ' . . Last 4 digits of account number 700 3790
Pineapple Home Creations q =
Nonpriorily Creditors Name 20 | 8
228 S. Hill Street When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that appl
. . 1 : Check ail that apply.
Pilot Point, TX 76258
City State ZIP Code ( Gontingent

 

Who incurred the debt? Check one.

] Debtor 1 only

CI Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?
& No
OI Yes

 

kd Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:
Q) Student loans

a Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts

Wd other. Specify construction

 

 
 
   

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irst Nama

} part 3: (IR Others to Be Notified About a Debt That You Already Listed

 

| 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

| example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

| 2, then jist the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
| additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

United Collection Bureau. Inc On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Name
RE: Bestbuy Visa act # ****2549 Line 4.2 of {Chack one): LU) Part 1: Creditors with Priority Unsecured Claims
Number Street 4) Part 2: Creditors with Nonpriority Unsecured Claims
5620 Southwyck Blvd, Ste 206 9549
Last 4 digits of account number
Toledo, OH 43614
Oe eee cemen ee I a ee ce enn ce
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits ofaccountnumber
Cily State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
Number Streel C] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
| State ZIP Code pesos eee . ee
i On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one}: CQ) Part 1: Creditors with Priority Unsecured Claims
Number Street QQ) Part 2: Creditors with Nonpriority Unsecured
Claims
7 Last 4 digits of account number ___ _
Cily Slale ZIP Cade
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CJ Part 4: Creditors with Priority Unsecured Claims
Number Streal (J Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Cade
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Cheek one). UO Part 1: Creditors with Priority Unsecured Claims
Number Street UW Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
5 On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): CO) Part 1: Creditors with Priority Unsecured Claims
Number Street

 

QC) Part 2: Creditors with Nonpriority Unsecured
Claims

 

 

Gly Slale FIP Gode Last 4 digits of account number ___
Jenniter l lett. ;
Ant Neme ieee aateee 8/14/19 14:33:24 Desc Main Document—Page 3t0f53>———-——_

ue we Add the Amounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159. |
Add the amounts for each type of unsecured claim.

Total claim |

oc .

Total claims 6a. Domestic support obligations a $ |
from Part 1 6b. Taxes and certain other debts you owe the
government 6b. $

6c. Claims for death or personal injury while you were

intoxicated 6c. 5 :

6d. Other. Add all other priority unsecured claims.

Write that amount here. 6d. +,.60,064

 

 

 

 

Se. Total. Add lines 6a through 6d. 6e.
3_ 60,064
Total claim:
Total claims 6f. Student toans 6f. $
from Part 2&4 Obligations arising out of a separation agreement
or divorce that you did not report as priority \
claims 6g. $ |
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
6i. Other, Add all ether nonpriority unsecured claims.
Write that amount here. 6. +s

 

6j. Total. Add lines 6f through Gi. Gj.

 

 

 

 

 

 
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Fill in this information to identify your case:

| pane Vane Tolle

 

 

Debtor \

“firstName + Middle Name "Last Name
Debtor 2
(Spouse If fling) First Name Middle Name Last Name

United States Bankruptcy Court for ne Var \ District of Ne S

Case number
(If known}

 

 

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

Page 32 of 55

LI Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information, If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

QA No. Check this box and file this farm with the court with your other schedules. You have nothing else to report on this form.
L) Yes. Fill in all of the Information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone}. See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease Is for

24

 

Name

 

Number Slreel

 

Cily State ZIP Code

1
2,21
wal

 

Name

 

Number Street

 

_ City . State ZIP Code

 

 

Name,

 

Number Street

 

City 7 Slate ZIP Cade.

 

Name

 

Number Street

 

Cily State ZIP Code ~
2.6

 

Name

 

Number Street

 

 

City Stale ZIP Gode

Official Form 1066 _ Schedule G: Executory Contracts and Unexpired Leases

pagetof_
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cate Suit Mone “loll

T Name

Lasl Name

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

Clty

Slate

ZIP Code

 

Name

 

Number

Slreet

 

City

rm

Stala

ZIP Code

 

Name

 

Number

Street

 

Cily

Name

State

ZIP Coda

 

Number

Street

 

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State

ZIP Coda

 

Name

 

Number

Streel

 

City

State

ZIP Code

 

Name

 

Number

Slreet

 

City

L® |

State

ZIP Code

 

Name

 

Number

Street

 

Cily

State

ZIP Code

 

Name

 

Number

 

Street

 

City

Official Form 106G

_ State

. ZIP Coda

Schedule G: Executory Contracts and Unexpired Leases

Case number (known),

What the contract or lease Is for

Page 33 of 55

page of
Desc Main Document Page 34 of 55

Fill in this information to identify your case:

 

 

Debtor 4 Jennifer Marie Tollett

Firsl Name Middle Name Last Name

Debtor 2 .
(Spouse, iF filing) First Name Middle Name Last Name

United Slates Bankruptcy Court for the: Eastern District of Texas

 

Case number
{If known)

 

CI Check if this is an
amended fiting

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

1. Bo you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

Mt No
LJ Yes

2. Within the last § years, have you lived ina community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

LJ No. Go to line 3.
M4 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
1] No

J Yes. in which community state or territory did you live? Texas . Fillin the name and current address of that person.

Douglas A Goss

Name of your spouse, former spouse, of legal equivalent

811 Red Tip Dr

: Number Street
Alten, TX 75002

} Cily State ZIP Cade

 

 

 

3, In Column 14, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, :
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 7: Your codebtor _ , Cojumn 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1 |
QO Schedule D, line |
Name i
LJ Schedule E/F, line
Number Street ( Schedule G, line
oy, Toe Sais iP Code _ en:
3.2
(J Schedule D, line
Name
i Q) Schedule E/F, line |
Number Street LJ Schedule G, line
_Gily Ce . oe Beate _..- ZIP Code i
3.3
QO) Scheduie D, line i
Name —_ |
L] Schedule E/F, line i
. }
Numbor Stroat LJ Schedule G, line

 

Cily State ZIP Code

 
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Fill in this information to identify your case:

 

pebtr1 Jennifer Marie Tollett

 

 

 

 

 

First Name Middle Narne Last Name :
Debtor 2
(Spouse, if filing} First Name Middle Name Last Name |
I
United States Bankruptcy Court for the: Eastern District of Texas |
(State)
Case number Check if this is:
(lf known}
(J An amended filing
L) A supplement showing postpetition chapter 13
income as of the following date:
Official Form 1061 My DDT YYYY
Schedule I: Your Income 1245

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

com Describe Employment

1. Fillin your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

if you have more than one job,
attach a separate page with

information about additional Employment status id Employed L) Employed

employers. LJ Not employed L) Not employed : ‘

Include part-tine, seasonal, or

self-employed work. :
Occupation Realtor

 

Occupation may include student
or homemaker, if it applies.

Employer's name Coldwell Banker

 

Employer's address

 

 

 

 

i Number Street Number = Street
|
i
1
i
Frisco, Tx 75034
City Stafe _ ZIP Code Cily State ZIP Code

How long employed there? |

ea Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

| If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this farm.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. 2173
$e, $

3. Estimate and list monthly overtime pay. 3. +3 + $

 

4. Calculate gross income. Add line 2 + line 3. 4. g2,173 §.

 

 

 

 

 

 
Debtor 1

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Jennifer Marie Tollett

First Name Middle Name Last Name

 

Copy lime 4 Here... cecsccececccccececeseceeeeeseeecceeseeeeseaeetecceensusseesansteretesseeneeeeees >4

5, List all payroll deductions:

1

5a.
5b.
5c.

| Sf.

5g.
5h.

 

5d.
5e.

Tax, Medicare, and Social Security deductions 5a.
Mandatory contributions for retirement plans Sb.
Voluntary contributions for retirement plans 5c.
Required repayments of retirement fund loans 5d.
Insurance Be.
Domestic support obligations of.
Union dues 5g.
Other deductions. Specify: Realtor Dues 5h.

 

6. Add the payroll deductions. Add lines a+ 5b+ 5c+6d+5e+5f+65g+5h. 6.

1
I
| 7. Calculate total monthly take-home pay. Subtract line 6 fram line 4. 7.

8a.

&d.

Bf.

 

id
Q)

8b.
8c.

8e.

8. List all other income regularly received:

Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. Ba.

Interest and dividends &b.

Family support payments that you, a non-filing spouse, or a dependent
regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8c.
Unemployment compensation 8d.
Social Security &e.

Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

 

 

Specify: af.

8g. Pension or retirement income 8g.

8h. Other monthly income. Specify: Bh.
9. Add all other income. Add lines 8a + 8b + 8c + 8d + Se + 8f+8g + Bh. 9,

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.

41. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Case number (known),

For Debtor 1

 

For Debtor 2 or

Page 36 of 55

non-filing spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13,Do you expect an increase or decrease within the year after you file this form?

No.

32,173 5
$ $
$ $
$ $
$ $.
$ $.
$ $
S$ $
+3189 + 5
¢189 $
31,984 $
$ $
$ $
$ $
$ $
$ $
5 $
$ $
T$ +s
30 $
31,984 $ = {51,984
11.6% §
2, (1,984
Combined

12, Add the amount in the last column of tine 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify:

 

 

 

 

 

 

monthly income

 

Yes. Explain:

 

 

 

 

 

 
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ULM EM EMEC lini T-y iam emt al tiie Laer 11

bebtor1 vennifer Marie Tollett

 

 

 

Firs! Neme Middle Name Lasi Name Check if this is:
Gotae i fling) First Name Middle Name Las Name Q) An amended filing ;
United States Bankruptcy Court for the: Eastern District of Texas u ommer een. ae ere .. ‘olawing date. chapter 15
ale
Ogee number MIT ODT

 

 

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct t
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

a Describe Your Household

1. Is this a joint case?

 

MW No. Go to line 2.
CL] Yes. Does Debtor 2 tive ina separate household?

Cl Ne
LJ] Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2, Bo you have dependents? No ;
Dependent’s relationship to Dependent’s | Does dependent live
Do net list Debtor 1 and (Y Yes. Fill out this information for Debtor 4 or Debtor 2 age : with you?
Debtor 2. each dependent...
, L No
Do not state the dependents ig
names. : Yes |
CL] No i
C) Yes [:
i] No
C) Yes
LI No
L) Yes
LJ No
L) Yes
3. Do your expenses include WI No

expenses of people other than
___ yourself and your dependents? O Yes

Part 2: | Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter t3 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

- Include expenses paid for with non-cash government assistance if you know the value of

’ such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence, Include first mortgage paymenis and 1.901
any rent for the ground or lot. 4. $s

If not inctuded in line 4:

4a. Real estate taxes . 4a. $
4b. Property, homeowner’s, or renter's insurance 4b. $
4c. Home maintenance, repair, and upkeep expenses 4c. $
4d. Homeowner's association or condominium dues Ad. $
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Debtor 4 Jennifer Marie Tollett

46.

7

18.

“19,

20,

 

First Name Middle Name Last Name

Additional mortgage payments for your residence, such as home equity loans
Utilities:

6a. Electricity, heat, natural gas

6p. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies

Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Bo not include insurance deducted from your pay or included in lines 4 or 20.

15a, Life insurance
15b, Health insurance
150, Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Gar payments for Vehicle 2
t7c. Other. Specify:

 

47d. Other. Specify:

 

Case number ¢f known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule i, Your income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or § of this form or on Schedule f: Your income.

20a, Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

6a.
Gb.
Gc.

Gd.

12,

13.

14,

15a.
15b.
15c.

15d.

16.

17a.
17b.
17c.

17d.

18

20a.
20b.
20c,
20d.

20e.

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Your expenses

31/75
5100
3150

3200

3200

ga0
g120
;60
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Debtor 1 Jennifer Marie Tollett Case number grinown

 

Fist Name Middle Name Last Name

21. Other. Specify:

 

22, Calculate your monthly expenses.
22a, Add lines 4 through 21.
22b. Copy jine 22 (monthly expenses for Debtor 2), if any, fram Official Form 106J-2

22c._ Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule [.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthiy net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year ar do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

M4 No.

Page 39 of 55

 

21.

22a.

22b,

22c.

23a.

23b.

23,

 

+5

 

51,984
_ 54,686

 

 

3(2, 702)

 

 

 

Q) Yes. | Explain here:
r
|

i
Le

 
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Fill in this information to identify your case:

 

pestor1 wWennifer Marie Tollett

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Lasl Name

 

United States Bankruptcy Court for the: Eastern District of Texas

Case number
(IF known}

 

 

Official Form 107

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U) Check if this is an

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Be as complete and accurate as possibie. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Sa Give Details About Your Marital Status and Where You Lived Before

amended filing

04/16

 

: 1. What is your current marital status?
(J Married
4] Not married

' 2. During the last 3 years, have you lived anywhere other than where you live now?

kdl No

LJ Yes. List all of the places you lived in the last 3 years. De not include where you live now.

Debtor 1: , Dates Debtor1 Debtor 2:
lived there

L) Same as Debtor 1

 

 

 

 

 

 

1227 Devonshire Drive From ¢/2015

Number Street To current Number Street

Providence Village, Tx 76227

City State ZIP Cade City State ZIP Code

LL] same as Debtor 4

From

 

 

Number Street + Number Street
0

 

 

 

 

City State ZIP Code City State

ZIP Code

: Dates Debtor 2
lived there

| Same as Debtor 1

From
To

L] Same as Debtor 1

From
To

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
: states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C) No
Md Yes. Make sure you fill aut Schedule H: Your Codebtors (Official Form 106H).

Ee Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 1
Case 19-42211 Doc1 Filed 08/14/19 Entered 08/14/19 14:33:24 Desc MainDocument Page 41 0f 55

Debtor 1 Jennifer Marie Tollett

Case number (irknown)
First Name Middia Name Last Name

 

4, Did you have any income from employment or from operating a business during this year or the two previous calendar years? :
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities. :
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

[LY No
MW Yes. Fill in the details.

 

Sources of Income - Gross income Sources of income Gross income
Gheck all that apply. (before deductions and © Check all that apply, (before deductions and
. exclusions) — - exclusions)
From January 1 of current year until 0 pars commissions, 31 7 384 U mages, comm issions,
, os
the date you filed for bankruptcy: ONUSES, TPS onuses, tp
QQ Operating a business L) Operating a business
For last calendar year: ia Wages, commissions, 29 929 Q Wages, commissions,
bonuses, tips gcu, bonuses, tips $
(January 1 to December 31,2018) L) Operating a business L) operating a business
For the caiendar year before that: Q Wages, commissions, ) Wages, commissions,
201 7 bonuses, tips 528 535 bonuses, fips $
(January 1 to December 31, —— L) operating a business , L} operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardiess of whether that income is taxable. Examples of offer income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and [ottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

YJ No
i] Yes. Fill in the details.

 

 

 

 

 

 

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below, - each source
(before deductions and , / (before deductions and
exctusions) : exclusions)
From January 1 of current year until
the date you filed for bankruptcy:
$
For last calendar year: $ 5
(January 1 to December 31, }
YvYY
For the calendar year before that:
(January 71 to December 3, )
YYYY 5

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
Debtor 1

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Jennifer Marie Tollett

 

First Name

Middle Narne

Last Name

Case number known),

Br List Certain Payments You Made Before You Filed for Bankruptcy

| 6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?

Page 42 of 55

 

ld Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/19 and every 3 years aiter that for cases filed on or after the date of adjustment.

LJ Na, Ge to line 7.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

LJ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

L] Ne. Go to line 7.

Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Official Form 107

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you still owe
payment ‘ .
Ally Financial 7/29 41,258 5 31,756
Creditor's Name
P.O. Box 380901 6/22/19
Number Street
Bloomington, MN 55438
Cily Slale ZIP Code
3 5
Creditors Name
Number Street
City State ZIP Code
3 3
Cradilor’s Name
Number Street
City Slale ZIP Gade

Statement of Financial Affairs for Individuals Filing for Bankruptcy

(] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

Was this payment for...

OQ Mortgage

id car

U1 credit card

CY Loan repayment

U) Suppliers or vendors

OC) other

Q Mortgage

QJ car

QD credit card

LJ Loan repayment

i Suppliers or vendors

LC) other

QO Mortgage

Q) car

C] credit card

Q Loan repayment

Q) Suppliers or vendors
J] other

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Jennifer Marie Tollett

Debtor 1

 

First Name

Lasl Name

Case number orknown)

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. 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

bd No

(J Yes. List all payments to an insider,

 

 

 

 

Dates of Total amount Amount you still
payment paid owe
$
Insider's Name
Number = Street
Gily State ZIP Code
$

 

Insider's Name

 

Number Street

 

 

City

an insider?

State ZIP Gode

include payments on debts guaranteed or cosigned by an insider.

MW No

LI} Yes. List all payments that benefited an insider.

Dates of
payment

 

Insider's Name

 

Number Street

 

 

City

State ZIP Code

 

Insider's Name

 

Number Street

 

 

— «City |

Official Form 107

Stale = ZIP Code

Total amount
paid

Reason for this payment

 

 

Amount you still Reason for this payment

owe

_lnclude creditor's name

}
i
\
|

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

4. Within 4 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

page 4

 
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peptort Jennifer Marie Tollett Case number uraoun

First Name Middle Name Lasl Name

 

 

Identify Legal Actions, Repossessions, and Foreclosures

 

' 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.
LI No
4 Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Douglas A G Nature of the case . Court or agency . . : ‘Status of the case
. 40SS a | a to
Case “And | ex husband 469th Judicial District i] Pending
Jennifer Marie Tollett: —_ tried to force | CO on appeal
! me to pay his ‘Nambar Streat Concluded
case number 469-54618-2017, attorney fees _ Collin County, Texas
{ and court costs [ctv Slate ZIP Coda
Case title | Icom Name CL) Pending
| LI on appeal
| [Romer Straet () concluded
Case number | |

jo State ZIP Code

 

+0. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

Wi No. Goto line 11.
CJ Yes. Fill in the information below.

Describe the property Lo . Date Value of the property

coo wee ne ee
I
|

| $
{
|

 

Credilor's Name |

i ‘ _

Number Street €xplain what happened

 

L} Property was repossessed.

 

LJ Property was foreclosed.
1] Property was garnished.

 

() Property was attached, seized, or levied.

Describe the property , , Date Value of the propert,

 

 

 

 

Creditor's Name |
|

 

Number Street
Explain what happened

Property was repossessed.

 

Property was foreclosed.

 

Pr arnished.
Cily State ZIP Code operty was garn

Oooo

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individua!s Filing for Bankruptcy page 5
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pebtor1 Jennifer Marie Tollett Case number ¢renoum,

 

 

First Name Middle Name Last Name

“44. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
: accounts or refuse to make a payment because you owed a debt?

U No
Yes. Fill in the details.

Describe the action the creditor took Date action Amount.
RBFCU . was taken

Creditors Name :

 

 

11350 Dallas North Tollway They wouldn't let me have iJuly 2019 5145
Numer See "my money from savings
when | asked to withdraw it

 

Frisco, Tx 75034

Cily State ZIP Code Last 4 digits of account number: XXXX—__

 

_ 12, Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

YI No
L) Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
UI Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

Gifts with.a total value of more than $600 Describe the gifts Dates you gave Value
per person . . the gifts
ee cece ee eee eee cen ee eee ge |
$
Person le Whom You Gave the Gifl i
$
Number  Strest i
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts © , , Dates you gave Value
per person _.. the gifts
; $
Person la Whom You Gave the Gift \
i $
|
i
Number Street
|
City Stale ZIPCode |
|
Person's relalionship to you !

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 
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Debtor 1 Jennifer Marie Tollett Case number (known)

Firsl Name Middle Name Last Nama

 

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

No

(J Yes. Fill in the details for each gift or contribution.

 

 

Glfts or contributions to charitles Describe what you contributed Date you Value
that total more than $600 contributed .
| 3
= i |
Charity’s Name ! .
i \ $

 

Number Street

 

City Slate ZIP Code

So List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Yi No
Ld Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss , , Date of your Value of property

hew the loss occurred . ts _. loss lost
. Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property:

{
i
i I
|

_

List Certain Payments or Transfers

16, Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

ld No
CJ Yes. Fill in the details.

Description and value of any property transferred , Date paymentor | Amount of payment

 

 

 

transfer was
Person Who Was Paid ee et eet eee Made
|
|
Number Street | $

 

City State ZIP Code

 

Email or website address

 

 

i
|
Person Who Made the Payment, if Nal You |

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
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Debtor 4 Jennifer Marie Tollett Case number ¢ranow)

 

FirstName Middle Name

 

Lasl Mame

 

Description and value of any property transferred

Poo rr re ee ere 2 et ee eae Se

 

Person Who Was Paid

 

Number  $Slreet-

 

 

City State

ZIP Code |

 

Email or websile address

 

G4 No
LJ Yes. Filt in the details.

Person Who Made the Payment, if Not You

 

Description and value of any property transferred

 

Person Who Was Paid

 

Number Street

 

 

 

| City State

ZIP Code |

|
|
!

 

Date payment or
transfer was made

Date payment or
transfer was
made

‘Amount of
payment

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Amount of payment

. 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property}.
Do not include gifts and transfers that you have already tisted on this statement.

LL] No
kd Yes. Fill in the details.

Allen and Barbara Tollett transterrea

Description and value of property Describe any property or payments received

 

 

Person Who Received Transfer

wante SFOMOFO St ——— 9 satisfy divorce
Fritch, Tx 79036 decree

Sold 1227 Devonshire —
iDr
|

 

 

Cily State

Person's relationship to you

‘& get ex off of
mortgage lien _

ZIP Code

or debts paid in exchange

| received $1,589 from
sale of home. Used
that to live on.

 

Lo .

 

 

Person Who Received Transfer

 

Number Street

 

 

City State

Person's relationship to you

Official Form 107

ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

‘Date transfer

was made

april 2019

page B
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Debtor 4 Jennifer Marie Tollett Case number ¢ranown

Flrsi Name Middle Name Last Name

 

 

: 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called assef-protection devices.)

No
Li Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust : |

 

 

 

ED viet Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

‘ Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,

| brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

|

fa No
(2 Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
: . Instrument closed, sold, moved, = closing or transfer
: ortransferred . ~
|
Name of Financial Institution
XO0OKX— C) checking $
i Number Street () savings

oO Money market

 

QO Brokerage

 

City State ZIP Code O other

XXXX= C) checking $
QO Savings

 

Name of Financial Institution

 

Number Street QO Money market

O Brokerage

 

CO other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

a No
Cl Yes. Fill in the details.

 

 

 

 

 

 

Who else had access to it? , Describe the contents Do you still

: , shave it?
| i
t

| I QO) No

Name of Financial Institution Name | QO) Yes
Number Street Number Street |
| !

City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
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Debtor 1 Jennifer Marie Tollett Case number grkacun)

First Name Middle Name Last Name

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
Mi No
QO) Yes. Fill in the details.

 

 

Who else has or had accesstoit? =. ’ Describe the contents , Do you still
. . oo. . oo _ have it?
! | ONe
Name of Storage Facility Name | ! | Yes
|
Number Street Number Street i

 

City State ZIP Code

 

City State ZIP Code

Identify Property You Hold or Control for Someone Else

 

23. Bo you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

2 No
QJ Yes. Fill in the details.

Where is the property? , Describe the property Value

 

Owner's Name

 

Number Street

 

Number Street

 

 

 

City State 2ziP Code

 

City State ZIP Code

CT Give Detalls About Environmental Information

: For the purpose of Part 10, the following definitions apply:

 

a) Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
: hazardous or toxic substances, wastes, or material into the air, land, scil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

8 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
: utilize it or used to own, operate, or utilize it, including disposal sites.

- @ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

. Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

: 24,Has any governmental unit notified you that you may be fiable or potentially liable under or in violation of an environmental law?

W No
OC) Yes. Fill in the details.

 

 

 

 

Governmental unlit Environmental law, if you know it , Date of notice
pote eeme eee ne tee Omen te
i ;
1 t
‘ i
:
Name of site Govemmental unit | |
{ i
i __ I
Number Street Number Street
Clty State ZIP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
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Debtor 4 Jennifer Marie Tollett Case number qrinceny

Firs| Name Middle Nama Lasi Name

 

 

 25.Have you notified any governmental unit of any release of hazardous material?

@ No
2 Yes. Fill in the details.

 

 

 

 

Governmental unit . Environmental law, if you know it Date of notice

pe en eee ee ee ee ng
| :
1 i !
|
| Name of site Governmental unit i
4 :
| i__ 8
i Number Street Number Street
1
!
| City State ZIP Code

Cliy State ZIP Code

: 28.Have you been a party in any judicial or administrative proceeding under any environmental taw? Include settlements and orders.

2 No
CJ Yes. Fill in the details.
Status of the

 

 

 

 

 

Court or agency. Nature of the case case
Case title
cour flame : () Penaing
- Ol on appeal
Number Street : Oo Concluded
Case number City State ZIPCGode |

| Part 14: | Give Details About Your Business or Connections to Any Business

 

: 27, Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QC) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
(J A member of a limited liability company (LLC} or limited liability partnership (LLP)
Oa partner in a partnership
() An officer, director, or managing executive of a corporation

LJ An owner of at least 5% of the voting or equity securities of a corporation

Wd No. None of the above applies. Go to Part 12.
UL} Yes. Check all that apply above and fill in the details below for each business. /
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

Business Name Fe

l

 

 

 

 

 

 

EIN:
Number Street ee eee ee
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code | ee ;
Describe the nature of the business , Employer Identification number

 

Do not include Social Security number or ITiN.

Business Name

|
: EIN: -

 

 

 

Number Street _-
Name of accountant or bookkeeper - Dates business existed
|
From To

 

 

 

olty State 2iP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
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Debtor 1 Jen nifer Marie Tollett Case number (rknown

 

Firsl Name Middle Name

 

Last Name

Employer Identification number
Do not Include Social Security number or ITIN.

Describe the nature of the business

 

Business Name

 

Number Street

 

PEIN:
Name of accountant or bookkeeper Dates business existed
| From ___siTa

 

City State

i No
C) Yes. Fill in the details below.

ZIP Code

}

 

| 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties. :

Date issued

 

Name

MM DD /YYYY

 

Number Street

 

 

City State

 

ZIP Code

 

answers are true and correct. |

Signgtire of Ddbtor 1

“Y | M/12019

CL} No
Mt Yes

No
L) Yes. Name of person

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the

understand that making a false statement, concealing property, or obtaining money or property by fraud

in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both,
18 U.S.C. §§ 152, 1341, 1519, and 357.

| «lyin Tilt x

 

- Signature of Debtor 2

Date

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107}?

. Attach the Bankrupicy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
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Fill in this information to identify your case:

Debtor 1 Jennifer Marie Tollett

First Name Middla Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Eastern District of Texas

Gase number (Siete) LJ Check if this is an

(If known} amended filing

 

 

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 ims

 

If you are an individual filing under chapter 7, you must fill out this fonm if:

@ creditors have claims secured by your property, or

— you have jeased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debters must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

 

: 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
: information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C7 -
Creditar's C) Surrender the property. LI No

name. ——_ Ally Financial - property

Se we eens . : bd Retain the property and redeem it. WI Yes

Bescripti if
Sripaon © LJ Retain the property and enter into a

San debt: 2015 Lexus Rx 350 Reaffirmation Agreement.
Vin# 2T2ZK1B0FC183942 () Retain the property and [explain]:

 

 

Creditor's (3 Surrender the property. LJ No
name: a oo

ae : Q) Retain the property and redeem it. UO) Yes
Oreo of C} Retain the property and enter into a

securing debt: Reaffirmation Agreement.

(J Retain the property and [explain]:

 

 

Creditor's LJ Surrender the property. LI No
name:

LJ Retain the property and redeem it. O Yes
Descriot
prenety of CJ Retain the property and enter into a
securing debt: Reaffirmation Agreement.

CL) Retain the property and [explain]:

 

 

Creditor's CJ Surrender the property. LI No
Name: | oe
— () Retain the property and redeem it. ) ves
i f
Oona ° L} Retain the property and enter into a
securing debt: Reaffirmation Agreement.

©) Retain the property and [explain]:

 
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Debtor 1 Jennifer Marie Tollett Case number (if known)

First Name Middle Name Last Name

ra List Your Unexpired Persona! Property Leases

. For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066), .
fill in the information below. Do not list real estate leases. Unexpired jeases are leases that are still in effect; the lease period has not yet : I
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

 

 

 

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: OO No
. woe we ee eee
Description of leased Ol Yes : |
property: |
Lessors name: (No
Description of leased U Yes
property:
Lessor’s name: LI No
Description of leased L} Yes
property:
Lessor’s name: O Ne :
aie meme re . - (Ll Yes i
Description of leased
property:
Lessor’s name: OCNo
: ial Yes i
Description of leased |
property: i |
Lessor’s name: ONe
- — ccepenenepueep pen tis te Dyes
Description of leased
property:
Lessor’s name: DINe
CL] Yes

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any i
personal property that is subject to an unexpired lease.

 

x

Signature of Debtor 2

 

Date

 

MM/ DD! YYYY '
eae OMS IAL Le Orem ae aCe eee acre emu UT al

Form 1224-1Supp:

 

 

 

bebtor1 Jennifer Marie Tollett
First Name Middie Nama Lasl Name \ '
Wl 1. There is no presumption of abuse.
Debtor 2
(Spouse, if fling) First Name Middte Name Last Name LJ 2. The calculation to determine if a presumption of
‘ . abuse applies will be made under Chapter 7

United States Bankruptcy Court for the: Eastern District of Texas Means Test Calculation (Official Form 224-2)

(State) .
Case number U) 3. The Means Test does not apply now because of
(iF known) qualified military service but it could apply Jater.

 

 

 

 

LI Check if this is an amended fiting

Official Form 122A—‘
Chapter 7 Statement of Your Current Monthly Income 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A4-1Supp) with this form.

ar Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

4 Not married. Fill cut Column A, lines 2-11.
LJ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

CL) Married and your spouse is NOT filing with you. You and your spouse are:
LJ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-17.

LJ Living separately or are legally separated. Fill out Colurnn A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

 

 

 

 

Column A Column B
Debtor 1 Debtor 2 or
hon-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions 2173
(before all payroll deductions). $H,tfV $
3. Alimony and maintenance payments. Dc not include payments from a spouse if
Column B is filled in. $___ 8
4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Bo not include payments you listed on line 3. $e 5
5. Net income from operating a business, profession, Debtor 1 Debtor 2
or farm
Gross receipts (before all deductions) $B
Ordinary and necessary operating expenses -$ -$
Net monthly income from a business, profession, or farm  ¢ $ poPYy, $ $
6. Net income from rental and other real property Debtor 1 Debtor 2
Gross receipts (before all deductions} 5 3
Ordinary and necessary operating expenses -$ -$
Net monthly income from rental or other real property 5 5 ROPY

7. Interest, dividends, and royalties

 

 

 
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Debtor 4 Jennifer Marie Tollett Case number (risown)
Firs! Name Middle Name _ Last Name
‘Column A ———SCColumn B
Debtor 1 Debtor 2 or
non-filing spouse
&. Unemployment compensation § $
Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: ¥
FOP YOU... csc cccesscsessetsscssesseeseseseessnsstseesseseestestsasssssarensenteestantantee $
FOP YOU SPOUSE... ceeneerntenene  §

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ §

 

10. Income from all other sources not listed above. Specify the source and amount.
De not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other scurces on a separate page and put the total below.

 

 

Total amounts from separate pages, if any. +35 +3

 

11. Calculate your total current monthly income. Add lines 2 through 10 for each + _
column. Then add the total for Column A to the total for Column B. g2, 1 73 $ g2,1 73

Total current
monthly income

 

 

 

 

 

 

 

ra Determine Whether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

12a, Copy your total current monthly income from line 11.00.0000... cee COpy line 14 heres 2,1 73 |
Multiply by 12 (the number of months in a year). x 12

126. The result is your annual income for this part of the form. 12b, | $26,076

13. Calculate the median family income that applies to you. Foilow these steps:

 

 

 

 

 

 

 

 

Fill in the state in which you live. Texas
Fill in the number of people in your household. 1
Fill in the median family income for your state and size Of MOUSEHOMG. oo ce cece ces ccesneeessseesnseseeessnecepeceauenssesapesceepiesesenecens 13, 309,206

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14. How do the lines compare?

14a, él Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 1224-2.
Go to Part 3 and fill out Form 122A—2,

EEE sen cctow

 

By signin here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

/
Xi

 

te

SignAture of Bébtor 4 / Signature of Debtor 2
i) g i 4 a Ox Date
MMi DD f¥YY¥ MM; DD /YYYY

if you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 14b, fill out Form 122A—2 and file it with this form.

 

 

 
